       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 1 of 8




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 7
 8                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA
 9
10     Scott Johnson                             Case No.
11               Plaintiff,
12                                               Complaint For Damages And
         v.                                      Injunctive Relief For Violations
13                                               Of: Americans With Disabilities
       Mansour Derakhshandeh, in                 Act; Unruh Civil Rights Act
14     individual and representative
       capacity as Trustee of The Mansour
15     Derakhshandeh Trust dated August
       17, 2020;
16     YBM, Inc., California Corporation

17               Defendants.

18
19         Plaintiff Scott Johnson complains of Mansour Derakhshandeh, in

20   individual and representative capacity as Trustee of The Mansour

21   Derakhshandeh Trust dated August 17, 2020; YBM, Inc., California

22
     Corporation; and alleges as follows:

23
24
       PARTIES:
25     1. Plaintiff is a California resident with physical disabilities. Plaintiff is a
26
     level C-5 quadriplegic. He cannot walk and also has significant manual
27
     dexterity impairments. He uses a wheelchair for mobility and has a specially
28   equipped van.


                                            1

     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 2 of 8




 1     2. Defendant Mansour Derakhshandeh, in individual and representative
 2   capacity as Trustee of The Mansour Derakhshandeh Trust dated August 17,
 3   2020, owned the real property located at or about 6095 Cahalan Ave, San Jose,
 4   California, in July 2019 and July 2020.
 5     3. Defendant Mansour Derakhshandeh, in individual and representative
 6   capacity as Trustee of The Mansour Derakhshandeh Trust dated August 17,
 7   2020, owns the real property located at or about 6095 Cahalan Ave, San Jose,
 8   California, currently.
 9     4. Defendant YBM, Inc. owned Santa Teresa Calco located at or about
10   6095 Cahalan Ave, San Jose, California, in July 2019 and July 2020.
11     5. Defendant YBM, Inc. owns Santa Teresa Calco (“Gas Station”) located
12   at or about 6095 Cahalan Ave, San Jose, California, currently.
13     6. Plaintiff does not know the true names of Defendants, their business
14   capacities, their ownership connection to the property and business, or their
15   relative responsibilities in causing the access violations herein complained of,
16   and alleges a joint venture and common enterprise by all such Defendants.
17   Plaintiff is informed and believes that each of the Defendants herein is
18   responsible in some capacity for the events herein alleged, or is a necessary
19   party for obtaining appropriate relief. Plaintiff will seek leave to amend when
20   the true names, capacities, connections, and responsibilities of the Defendants
21   are ascertained.
22
23     JURISDICTION & VENUE:
24     7. The Court has subject matter jurisdiction over the action pursuant to 28
25   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
26   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
27     8. Pursuant to supplemental jurisdiction, an attendant and related cause
28   of action, arising from the same nucleus of operative facts and arising out of


                                            2

     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 3 of 8




 1   the same transactions, is also brought under California’s Unruh Civil Rights
 2   Act, which act expressly incorporates the Americans with Disabilities Act.
 3     9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
 4   founded on the fact that the real property which is the subject of this action is
 5   located in this district and that Plaintiff's cause of action arose in this district.
 6
 7     FACTUAL ALLEGATIONS:
 8     10. Plaintiff went to the Gas Station in July 2019 and July 2020 with the
 9   intention to avail himself of its goods or services motivated in part to
10   determine if the defendants comply with the disability access laws.
11     11. The Gas Station is a facility open to the public, a place of public
12   accommodation, and a business establishment.
13     12. Unfortunately, on the dates of the plaintiff’s visits, the defendants failed
14   to provide wheelchair accessible parking in conformance with the ADA
15   Standards as it relates to wheelchair users like the plaintiff.
16     13. The Gas Station provides parking to its customers but fails to provide
17   wheelchair accessible parking.
18     14. A couple of problems encountered by the plaintiff is that there were
19   slopes in the parking space reserved for persons with disabilities that exceeded
20   2.1%.
21     15. Plaintiff believes that there are other features of the parking that likely
22   fail to comply with the ADA Standards and seeks to have fully compliant
23   parking available for wheelchair users.
24     16. On information and belief the defendants currently fail to provide
25   wheelchair accessible parking.
26     17. Additionally, on the dates of the plaintiff’s visits, the defendants failed
27   to provide wheelchair accessible sales counters in conformance with the ADA
28   Standards as it relates to wheelchair users like the plaintiff.


                                               3

     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 4 of 8




 1     18. The Gas Station provides sales counters to its customers but fails to
 2   provide wheelchair accessible sales counters.
 3     19. A problem that plaintiff encountered was that the sales counter at the
 4   Gas Station store was too high and there was no lowered portion of the sales
 5   counter suitable for wheelchair users.
 6     20. Plaintiff believes that there are other features of the sales counters that
 7   likely fail to comply with the ADA Standards and seeks to have fully compliant
 8   sales counters available for wheelchair users.
 9     21. On information and belief the defendants currently fail to provide
10   wheelchair accessible sales counters.
11     22. These barriers relate to and impact the plaintiff’s disability. Plaintiff
12   personally encountered these barriers.
13     23. As a wheelchair user, the plaintiff benefits from and is entitled to use
14   wheelchair accessible facilities. By failing to provide accessible facilities, the
15   defendants denied the plaintiff full and equal access.
16     24. The failure to provide accessible facilities created difficulty and
17   discomfort for the Plaintiff.
18     25. The defendants have failed to maintain in working and useable
19   conditions those features required to provide ready access to persons with
20   disabilities.
21     26. The barriers identified above are easily removed without much
22   difficulty or expense. They are the types of barriers identified by the
23   Department of Justice as presumably readily achievable to remove and, in fact,
24   these barriers are readily achievable to remove. Moreover, there are numerous
25   alternative accommodations that could be made to provide a greater level of
26   access if complete removal were not achievable.
27     27. Plaintiff will return to the Gas Station to avail himself of its goods or
28   services and to determine compliance with the disability access laws once it is


                                              4

     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 5 of 8




 1   represented to him that the Gas Station and its facilities are accessible.
 2   Plaintiff is currently deterred from doing so because of his knowledge of the
 3   existing barriers and his uncertainty about the existence of yet other barriers
 4   on the site. If the barriers are not removed, the plaintiff will face unlawful and
 5   discriminatory barriers again.
 6     28. Given the obvious and blatant nature of the barriers and violations
 7   alleged herein, the plaintiff alleges, on information and belief, that there are
 8   other violations and barriers on the site that relate to his disability. Plaintiff will
 9   amend the complaint, to provide proper notice regarding the scope of this
10   lawsuit, once he conducts a site inspection. However, please be on notice that
11   the plaintiff seeks to have all barriers related to his disability remedied. See
12   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
13   encounters one barrier at a site, he can sue to have all barriers that relate to his
14   disability removed regardless of whether he personally encountered them).
15
16   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
17   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
18   Defendants.) (42 U.S.C. section 12101, et seq.)
19     29. Plaintiff re-pleads and incorporates by reference, as if fully set forth
20   again herein, the allegations contained in all prior paragraphs of this
21   complaint.
22     30. Under the ADA, it is an act of discrimination to fail to ensure that the
23   privileges, advantages, accommodations, facilities, goods and services of any
24   place of public accommodation is offered on a full and equal basis by anyone
25   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
26   § 12182(a). Discrimination is defined, inter alia, as follows:
27             a. A failure to make reasonable modifications in policies, practices,
28                or procedures, when such modifications are necessary to afford


                                               5

     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 6 of 8




 1               goods,    services,    facilities,   privileges,   advantages,   or
 2               accommodations to individuals with disabilities, unless the
 3               accommodation would work a fundamental alteration of those
 4               services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
 5            b. A failure to remove architectural barriers where such removal is
 6               readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
 7               defined by reference to the ADA Standards.
 8            c. A failure to make alterations in such a manner that, to the
 9               maximum extent feasible, the altered portions of the facility are
10               readily accessible to and usable by individuals with disabilities,
11               including individuals who use wheelchairs or to ensure that, to the
12               maximum extent feasible, the path of travel to the altered area and
13               the bathrooms, telephones, and drinking fountains serving the
14               altered area, are readily accessible to and usable by individuals
15               with disabilities. 42 U.S.C. § 12183(a)(2).
16     31. When a business provides parking for its customers, it must provide
17   accessible parking.
18     32. Here, accessible parking has not been provided in conformance with the
19   ADA Standards.
20     33. When a business provides facilities such as sales or transaction counters,
21   it must provide accessible sales or transaction counters.
22     34. Here, accessible sales or transaction counters have not been provided in
23   conformance with the ADA Standards.
24     35. The Safe Harbor provisions of the 2010 Standards are not applicable
25   here because the conditions challenged in this lawsuit do not comply with the
26   1991 Standards.
27     36. A public accommodation must maintain in operable working condition
28   those features of its facilities and equipment that are required to be readily


                                            6

     Complaint
        Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 7 of 8




 1   accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 2      37. Here, the failure to ensure that the accessible facilities were available
 3   and ready to be used by the plaintiff is a violation of the law.
 4
 5   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
 6   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
 7   Code § 51-53.)
 8      38. Plaintiff repleads and incorporates by reference, as if fully set forth
 9   again herein, the allegations contained in all prior paragraphs of this
10   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
11   that persons with disabilities are entitled to full and equal accommodations,
12   advantages, facilities, privileges, or services in all business establishment of
13   every kind whatsoever within the jurisdiction of the State of California. Cal.
14   Civ. Code §51(b).
15      39. The Unruh Act provides that a violation of the ADA is a violation of the
16   Unruh Act. Cal. Civ. Code, § 51(f).
17      40. Defendants’ acts and omissions, as herein alleged, have violated the
18   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
19   rights to full and equal use of the accommodations, advantages, facilities,
20   privileges, or services offered.
21      41. Because the violation of the Unruh Civil Rights Act resulted in difficulty,
22   discomfort or embarrassment for the plaintiff, the defendants are also each
23   responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
24   (c).)
25      42. Although the plaintiff encountered frustration and difficulty by facing
26   discriminatory barriers, even manifesting itself with minor and fleeting
27   physical symptoms, the plaintiff does not value this very modest physical
28   personal injury greater than the amount of the statutory damages.


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     Complaint
       Case 3:20-cv-07986-CRB Document 1 Filed 11/13/20 Page 8 of 8




 1
 2          PRAYER:
 3          Wherefore, Plaintiff prays that this Court award damages and provide
 4   relief as follows:
 5       1. For injunctive relief, compelling Defendants to comply with the
 6   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
 7   plaintiff is not invoking section 55 of the California Civil Code and is not
 8   seeking injunctive relief under the Disabled Persons Act at all.
 9       2. Damages under the Unruh Civil Rights Act, which provides for actual
10   damages and a statutory minimum of $4,000 for each offense.
11       3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
12   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
13
     Dated: November 10, 2020         CENTER FOR DISABILITY ACCESS
14
15
                                      By:
16                                    _______________________
17                                           Amanda Seabock, Esq.
                                             Attorney for plaintiff
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     Complaint
